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                           UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF PUERTO RICO


                                                         CASE NO. 18-05288-EAG
  IN THE MATTER OF:                                      CHAPTER 11

  SKYTEC, INC.,

  Debtor


                                   JOINT PRE-HEARING REPORT

         Now come Movant, Logistic Systems, Inc. (“LogiSYS”) and Debtor, Skytec, Inc.,

  through their undersigned counsel, and respectfully set forth their Joint Pre-Hearing Report in

  preparation for the evidentiary Hearing to be held on October 21 and 22, 2019:

                        JOINT STATEMENT OF STIPULATED FACTS


         1.      Skytec, Inc. (hereinafter the “Debtor” or “Skytec”) is a privately-owned

  corporation with only two shareholders, Mr. Henry Barreda Rivera and Mr. Miguel Jose

  Carbonell. See, Statement of Financial Affairs, item # 81 (b), Dkt. # 29, at p. 35.

         2.      Skytec is primarily engaged in the sale and installation of communications,

  emergency, and security systems, and software development and integration. See Disclosure

  Statement, Dkt. # 91, at p 13.

         3.      On September 12, 2018 (“the Petition Date”), Skytec filed its voluntary petition

  for reorganization under Chapter 11 of the Bankruptcy Code. See, Petition, Dkt. # 1.

         4.      Earlier on that same date, the United States District Court for the District of

  Puerto Rico (the “District Court”) had issued an Opinion and Order (the “District Court Order”)

  wherein the District Court dismissed with prejudice Skytec’s claims against Logistic Systems,


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  Inc. (“LogiSYS”) and entered default as to LogiSYS’s counterclaims in a civil case pending

  before it. See Skytec, Inc. v. Logistic Systems, Inc., Civil No. 15-2104 (BJM) (“the Civil Case”),

  Opinion and Order, Sep. 12, 2018, see Civil Dkt. # 160. Exh. 1

         5.      LogiSYS’s counterclaims in the Civil Case were based on the collection of

  amounts allegedly owed by Skytec under Subcontractor Agreements on four projects: Puerto

  Rico Emergency Management Services Administration (“AEMEAD”), Puerto Rico Law

  Enforcement Dispatch System (“PRLEDS”), METRO I, and METRO II. See Opinion and Order,

  March 15, 2019, Civil Dkt. #184 at p. 2. Exh. 2.

         6.      Pursuant to the Opinion and Order, the money allegedly owed by Skytec to

  LogiSYS can be broken into three categories: payments due on completion of contractual

  milestones, license and maintenance fees, and service charge accrual on sums not paid within

  sixty days of the invoice. See Opinion and Order, Civil Dkt. #184 at p. 3. Exh. 2.

         7.      The District Court adopted a six percent (6%) interest rate on unpaid invoices as

  of the date of Skytec’s Petition Date, so the service charges allegedly owed on the license and

  maintenance fees through September 12, 2018 total $496,964. Id.

         8.      The District Court concluded, after entering default against Skytec and not

  allowing Skytec to present evidence at the evidentiary hearing, that Skytec owed LogiSYS under

  the agreements $357,186 for program installations, $2,414,898 for annual license and maintenance

  fees, and $496,964 for service charges on those tardy fee payments, which is a total of $3,269,048.

  See Opinion and Order, Civil Dkt. #184 at p. 4.

         9.      The District Court concluded, after entering default against Skytec and not

  allowing Skytec to present evidence at the evidentiary hearing, that except for the amount

  calculated for service charges, the amounts owed for program installations and annual license and

  maintenance fees ($357,186 + $2,414,898 = $2,772,084) were owed by Skytec to LogiSYS had been

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  accrued up to January of 2017 the time between Skytec terminating their relationship and the end of

  the required sixty-day notice for terminating the contractual agreements. See Opinion and Order,

  Civil Dkt. #184 at p. 2.

           10.   The stated “reason for filing the captioned bankruptcy was the (imminent)

  judgment to be issued against Debtor in a lawsuit with one of its prior vendors.” See Civil Dkt.

  #52, p. 2.

           11.   On November 15, 2018, this Honorable Court entered an Order granted at a

  hearing held on November 13, 2018, to modify the automatic stay, and allow LogiSYS to

  conclude its litigation against Debtor to judgment. See Civil Dkt. # 70.

           12.   On January 15, 2019, Logistic filed Proof of Claim No. 9 in the amount of

  $5,167,601.86, pending a final judgment from the U.S. District Court for the District of Puerto

  Rico in Skytec, Inc. v. Logistic Systems, Inc., Civil No., 15-2104(BJM). See Claims Register

  POC # 9.

           13.   The default damages hearing was held on February 13, 2019. The District Court

  entered judgment in March 15, 2019 in the amount of $4,161,858.38. See Civil Dkt. #186. Exh.

  3

           14.   On May 23, 2019, on reconsideration, the District Court entered an amended

  order and judgment in favor of LogiSYS in the amount of $ 4,286,297.07. See Civil Dkt. # 188.

  Exh.4.

           15.   LogiSYS amended its Proof of Claim on June 28, 2019 to reflect the Amended

  Judgment amount of $ 4,286,297.07. See Claims Register, POC # 9.

           16.   Although the District Court’s Opinion and Orders do not states so, Skytec

  attributes to “bad case management” having lost the LogiSYS litigation. See Disclosure

  Statement, Dkt. #91, at p.16.
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          17.     Skytec contends that the misconduct that the District Court found that it was

  engaged in the LogiSYS litigation was solely related to discovery issues due to its prior legal

  representation. See Opposition to Logistic Systems, Inc.’s Motion for Appointment of Chapter

  11 Trustee, Dkt #181, at p.8.

          18.        Skytec included its prior law firm among its list of Creditors with Non-Priority

  Unsecured Claims. See Petition Schedule E/F, Dkt. 29, at p. 18; Amended Schedule E/F, Dkt.

  #212-2, at p. 4.

          19.     Skytec did not list its prior law firm’s claim as either contingent, unliquidated, or

  disputed, or that it is subject to any offset. See, id.

          20.     Mr. Henry Barreda Rivera is Skytec’s president. See, Petition, Dkt. # 1.

          21.     Mr. Barreda supervises the daily operations at Skytec. See Transcript of Hearing

  on Final Approval on Amended Disclosure Statement Dated 04/15/2019 (Dkt. #175) and

  Confirmation Hearing of Ch. 11 Plan Dated 01/16/2019 (Dkt. #92) and Objection to the

  Disclosure Statement Filed by Logistic Systems, Inc. (Dkt. #184) (“Hearing Transcript”), at p.

  54.

          22.     Mr. Barreda supervises most of Skytec’s 28 employees, except the two employees

  that Ms. Annie Astor supervises in the accounting and finances area of the company. See id. at

  pp. 54-55.

          23.     Ms. Astor, spouse of shareholder Miguel José Carbonell, is an independent

  contractor acting as Debtor’s Chief Financial Officer (“CFO”). See id. at p.51

          24.     Although she passed the licensing test for certified public accountant and worked

  as such for many years, Ms. Astor has not had an active certified public accountant license for

  more than ten years. See id., at p. 52.



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          25.     Ms. Astor worked at FirstBank for twenty-three years. See id.

          26.     Ms. Astor worked as Chief Financial Officer at FirstBank. See id.

          27.     Ms. Astor works full-time at Skytec, overseeing, supervising, and managing

  Skytec’s financial affairs. See id. at p. 53.

          28.     Ms. Astor was designated by Skytec to testify on its behalf in the Section 341

  creditor’s meeting in this case. See id.

          29.     Ms. Astor assisted in the preparation of all three of the productions of documents

  that Skytec has served upon the Court and the parties in this case. See id.

          30.     Ms. Astor also produced documents in response to a Rule 2004 examination

  requested by Logistics in this case. See id.

          31.     Ms. Astor is familiar with the information that was used to prepare all the

  schedules on this case. See id.

          32.     Ms. Astor is familiar with the documents that allowed Skytec to prepare the

  statement of financial affairs in this case. See id. at p. 54.

          33.     Ms. Astor provided to Mr. Luis Carrasquillo, Skytec’s Financial Advisor in this

  case, information that he used to prepare the Disclosure Statement in this case. See id.

          34.     Ms. Astor supervises, jointly with Mr. Barreda, the management of the accounts

  receivables at Skytec. See, id. at p. 55.

          35.     Ms. Astor supervises Skytec’s management of its cash flow. See, id. at pp. 55-56.

          36.     Apart from Ms. Astor, Skytec has about four or five other independent contractors

  who work on specific company projects. See, id. at p. 55.

          37.     Mr. Barreda has the final decision-making authority to hire employees and

  professional contractors at Skytec. See, id. at p. 57.



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          38.     Mr. Barreda and Ms. Astor have the final decision-making authority on those

  individuals’ compensation. Id.

          39.     Skytec’s board of directors have the final say on the compensation to be paid to

  Mr. Barreda and Ms. Astor. See id. at p. 62.

          40.     The board of directors at Skytec is composed of Mr. Barreda, Ms. Astor, and Ms.

  Astor’s husband, Mr. Carbonell. See id.

          41.     The board of directors includes all of Skytec’s shareholders. See id.

          42.     Mr. Barreda and Ms. Astor’s compensation packages have not changed in ten

  years. See id. at p. 63.

          43.     There is no corporate resolution indicating Mr. Barreda’s and Ms. Astor’s

  compensations packages. See id.

          44.     Ms. Astor does not have a written independent contractor agreement with Skytec.

  See, id. at pp. 57, 88.

          45.     Not all independent contractors who work at Skytec have written agreements. Id.

          46.     Some of Skytec’s independent contractors work there and invoice Skytec for their

  time. See, id. at p. 58.

          47.     Ms. Astor also has participated in supplying information for the preparation of

  Skytec’s Monthly Operating Reports that are submitted to the Court in this case. See id.

          48.     Ms. Astor is one of the persons who supply the information to Skytec’s

  accountants for the preparation of Skytec’s tax returns, which is done by submitting Skytec’s trial

  balances after they are audited to the tax return preparer at Carbonell & Co. See id. at p. 64.




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          49.     Skytec does not report certain aspects of Mr. Barreda’s and Ms. Astor’s

  compensations to the Puerto Rico tax authorities because it believes that they are not required to

  be reported. See id. at p. 83.

          50.     Among the aspects of Mr. Barreda’s and Ms. Astor’s compensations that are not

  reported to the Puerto Rico tax authorities are:

                   a.     Rental payments to Mr. Barreda, see Hearing Transcript at p. 86

                   b.     Auto loan payments on the automobile used by Ms. Sandra Iglesias, Mr.

                          Barreda’s wife, see id. at p. 87.

          51.     Even after the filing of the petition in bankruptcy, Skytec has not discussed the

  possibility of adjusting the compensation of its officers because it believes that their

  compensation is fair for the work they do. See id., at p. 90.

          52.     Skytec has no written agreement with Mr. Barreda by which Skytec agrees to pay

  Mr. Barreda’s mortgage obligation on a property that he has stated is his own. See id.

          53.     Debtor originally listed LogiSYS’s claim as contingent, unliquidated and disputed

  in the amount of $ 3,711,945. See, Dkt. # 1, at p. 6.

          54.     Debtor has disclosed that it intends to prosecute no avoidance actions in this case.

  See Amended Disclosure Statement, Dkt # 175 at pages 33-34.

          55.     The Monthly Operating Report for January 2019, Dkt # 113, page 18, revealed a

  post-petition Christmas bonus paid to Debtor’s president1, in the amount of $5,000, in addition to

  the bonus granted in December in the amount of $554.10. See MOR for December 2018, Dkt. #

  113, page 16.

          56.     Skytec’s other employees received $554.10 as Christmas Bonuses.


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          As confirmed in the Rule 2004 Examination by Mr. Henry Barreda, page 31 Exh. 30.

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         57.        Debtor is not allowed to declare dividends under its term loan agreement with

  Oriental Bank, as modified on July 31, 2017. Oriental Bank Term Loan Agreement Exh. 6, p. 4.

         58.        Debtor has paid monthly rent of $9,175 to Mr. Barreda on real property owned by

  him as part of his compensation package. See Statement of Financial Affairs, Dkt. # 29, at 47.

         59.        Ms. Sandra Iglesias is Mr. Barreda’s wife and does not work or perform any

  duties for Debtor.

         60.        Debtor’s business had been declining since 2013. See Disclosure Statement, Dkt #

  91, at page 15.

         61.        Ms. Astor does not remember the last time when the shareholders discussed any

  changes to their compensation. See Exh. 29, Transcript of Ms. Annie Astor’s Rule 2004

  Examination at pp. 54-56.

         62.        Note 4 to the 2017 financial statements disclosed the amount of $107,544 owed

  by Prodetec, with no collectability reserve, and indicate that it is for cash advances and payments

  made on behalf of an affiliate.

         63.        Mr. Barreda is one of the owners of Prodetec. See his Rule 2004 Examination,

  Exh. 30, at p. 66.

         64.        Skytec’s accounts receivables are stated as of October 31, 2018 at Note D to the

  Liquidation Analysis to the Disclosure Statement, Dkt. # 91-5, p. 7, and to the Amended

  Disclosure Statement, Dkt 175-6, p.8.

         65.        The trade accounts receivable are stated at p. 8 in the amount of $1,436,147.

  Debtor’s Liquidation Analysis for Amended Disclosure Statement, Dkt 175-6, p.8.




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         66.    As of October 31, 2018, Skytec’s accounts receivable amounts to $1,173,811

  according to the October MOR after deducting an allowance for uncollectible amounts. Exh. 19.

  (Dkt 66)

         67.    As part of the supporting documents to the Monthly Operating Report for

  September 2018, Debtor provided copy of a statement of account #1409200705 at Firstbank,

  where Debtor had its bank account before the filing of the petition. See Dkt. 63, pages 68-70.

  Exh. 18.

         68.    Skytec issued check number 8508, in the amount of $1,000, payable to Alfredo

  Jimenez, CPA on September 4, 2018. Exh 8 (Dkt 29), Exh 18 (Dkt 63). See also Exh. 59.

         69.    Skytec issued check number 8527 in the amount of $42,541.14, payable to Adriel

  Longo on September 6, 2018. Id.

         70.    Skytec issued check number 8526 in the amount of $65,537.93, payable to Tessco

  on September 7, 2018. Id.

         71.    Skytec issued check number 8530 in the amount of $31,745.12, payable to Jorge

  Rivera on September 6, 2018. Id.

         72.    Skytec issued check number 8534 in the amount of $38,179.88, payable to MVS

  Leading Satellite on September 10, 2018. Id.

         73.    Skytec issued check number 8543 in the amount of $13,122.32, payable to Zoll

  Data on September 10, 2018. Id.

         74.    Skytec issued check number 8532 in the amount of $344,699.90, payable to

  Daniels Electronics on September 10, 2018. Id.

         75.    Skytec issued check number 8533 in the amount of $29,212.94, payable to

  Kenwood Comm. Corp. on September 10, 2018. Id.



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          76.   Skytec issued check number 8560 in the amount of $331.29, payable to Tessco on

  September 12, 2018. Id.

          77.   Skytec issued check number 8536 in the amount of $4,010, payable to REI on

  September 10, 2018. Id.

          78.   Skytec issued check number 8555 in the amount of $2,322.0, payable to

  Carbonell & Co. on September 11, 2018. Id.

          79.   Skytec issued check number 8559 in the amount of $1,024.66, payable to

  Kenwood Comm. Corp. on September 12, 2018. Id.

          80.   Skytec issued check number 8540 in the amount of $3,200, payable to Alfredo

  Jimenez, CPA on September 10, 2018. Id.

          81.   Skytec issued check number 8542 in the amount of $1250, payable to Shakil

  Shafique on September 10, 2018. Id.

          82.   First Subcontractor Agreement for a Computer-Aided Dispatch and Records

  Management System (AEMEAD) between Logistic Systems and Skytec was signed on

  December 31, 2009.

          83.   Second Subcontractor Agreement for a Computer-Aided Dispatch and Records

  Management System (LEDS) between Logistic Systems and Skytec was signed on June 22,

  2011.

          84.   Third Subcontractor Agreement for a Computer-Aided Dispatch and Records

  Management System (LE Metro II) between Logistic Systems and Skytec was signed on October

  4, 2011.




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         85.     Fourth Subcontractor Agreement for a Computer-Aided Dispatch and Records

  Management System (LE Metro I) between Logistic Systems and Skytec was signed on

  November 17,2011.

         86.     On January 23, 2019, Logistics’ counsel forwarded a letter to Skytec’s bankruptcy

  counsel requesting Debtor to file avoidance actions and granting 15 days to advise Skytec’s

  position. (See Letter from Mr. Carlos A. Rodriguez Vidal dated January 23, 2019.)

         87.     Before and after the Petition Date, the monthly compensation paid to the Debtor’s

  president, Mr. Henry Barreda is approximately $21,060.57. Exhs. 8, 18-27, 75

         88.     Before and after the Petition Date, the monthly compensation paid to Ms. Annie

  Astor (spouse of the Debtor’s only other shareholder, Mr. Miguel Carbonell), the independent

  contractor acting as CFO is approximately $17,327.51. Id.

         89.     Skytec issued check number 8529, in the amount of $10,056.33, payable to

  Fernando Carbonell on September 6, 2018. Firstbank honored Check number 8529 on September

  12, 2018. Exhs. 8,18,59.




                         I.    PROPOSED ADDITIONAL FINDINGS OF FACT


     A. Movant LogiSYS:

         1.      The Amended Final Judgment of the U.S. District Court against Skytec is final

  and unappealable. See Skytec, Inc. v. Logistic Systems, Inc., Civil No. 15-2104 (BJM) (“the Civil

  Case”), Amended Final Judgment, May 23, 2019, Civil Dkt. #189. Exh. 5.

         2.      The Amended Final Judgment is based on the District Court’s Opinion and Order

  dated March 15, 2019, see Civil Dkt. #184, and the Amended Order dated, May 23, 2019, see

  Civil Dkt. # 188. Exh. 4.

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         3.       Earlier in the Civil Case, on May 4, 2017, the District Court had granted in part a

  Motion to Compel or to Strike Experts filed by LogiSYS in the Civil Case, in which it

  disallowed Skytec’s experts in the case. See Civil Dkt. # 59. Exh. 6.

         4.       When Mr. Carrasquillo refers to Skytec’s management in the documents that he

  prepared, he refers to the assistance provided by Ms. Astor for him to perform his work in this

  case. See Exh. 74 “Hearing Transcript” at page 54-55.

         5.       The tax returns filed by Skytec corresponding to years 2014, 2015, 2016, and

  2017 do not segregate the compensation paid to its officers. Exh. 74. See Hearing Transcript at

  pp. 67-69.

         6.       During the 90 days before the petition date, the Debtor significantly reduced its

  accounts payable by making disbursement to vendors and suppliers of which $2,290,976.31

  appear as payments on account of antecedent debts, or payments for the benefit of insiders. See,

  Debtor’s Statement of Financial Affairs at Dkt. # 29 part 2, question # 3.

         7.       Among them, Debtor made the following payments in the amount of

  $1,633,726.18 to vendors and suppliers on account of antecedent debts:

         a. Payments on credit cards accounts to cover Skytec’s expenses, that are all in the
               names of insiders Annie Astor, Henry Barreda and Miguel Carbonell- Skytrackers,
               Inc.:

                  American Express (Miguel Carbonell- Skytrackers, Inc.)       $ 4,433.60
                  American Express (Annie Astor- Delta Platinum)               $10,788.00
                  American Express (Miguel Carbonell- Skytrackers, Inc.)       $12,309.69
                  American Express ((Miguel Carbonell- Skytrackers, Inc.)      $ 3,319.25
                  Banco Popular PR (Annie Astor)                               $52,720.00
                  Firstbank (Annie Astor)                                       $ 7,110.56
                  Oriental Bank (Henry Barreda Rivera)                         $31,828.65

                                                       Total:                  $122,509.75




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            b. Payments to several suppliers on account of antecedent debts and payments to third-
               party suppliers as follows2:

                    i. MVS Leading Satellite Comm.                 $80,696.74         $38,179.88 PP
                    ii. Tx RX Systems                              $60,611.63
                    iii. Ef Johnson                                $94,034.00
                    iv. Daniels Electronics                      $344,699.90          $344,699.90 PP
                    v. Kenwood Comm. Corp                          $82, 089.03          $30,237.60 PP
                    vi. Tessco (No Info)                          $142,464.73           $65,869.22 PP
                    vii. Zoll Data (No Info)                       $13,122.32           $13,122.32PP
                    viii. Global Service Solutions, Inc. (No Info.) $11,008.64

                                   Total payments to suppliers $815,792.95

            c. Payments for legal fees on account of antecedent debt:
               Cancio, Nadal & Rivera:                  $19,752.95

            d. Audit fees paid on account of antecedent debt:
               CPA. Alfredo Lopez Jiménez               $11,164.40                      $4,200.00 PP

            e. Loan payments not on the ordinary course of business
               between debtor and alleged private investors or lenders: $664,506.13
               (Mr. Jorge Rivera’s check No. 8530
               was cashed on September 17,2018)                                         $31,745.12PP
               (Mr. Adriel Longo’s Check No. 8527
               was cashed on September 13, 2018)                                        $42,541.14 PP

                                                  Total: $1,633,726.18

                 Exhs. 8, 10-13, 18, 59, 62-69.

            8.      During the year before the Petition Date, Debtor made disbursements to insiders,
  and/or for the benefit of insiders, amounting to $657,250.13. See Debtor’s Statement of Financial

  Affairs at Dkt. # 29 part 2, question # 4 and #30. The amounts disbursed included among others:


            a. Refunds to Annie Astor for advances to make Payroll       $ 124,577.16

            b. Payments to Great Lakes Corp on a student loan in the name
               of an adult son of Annie Astor who is an attorney       $3,180.96              $265.08
                   PP

  2
      PP- cashed made post-petition

                                                                                                  13
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        c. Payments to Pentagon Federal Credit Union for an auto loan
           in the name of Annie Astor                            $ 7,365.36

        d. Payments to MA CPA Advisor, as compensation to
           Annie Astor                                              $177,912.33

        e. Bonuses paid to Annie Astor                              $40,000.003       35,000.00
           PP
        f. Payments to Fernando Carbonell (as loan
           repayment during August and September 2018)4          $51,143.00       $10,056.33PP

        g. Payments to Carbonell & Co. 5                         $13,301.57       $2,322.00 PP

        h. Payments to Comsite (Henry Barreda)                   $110,103.126

        i. Payments to Firstbank on account of a mortgage loan
           under the name of Henry Barreda for real property
           located at Bo. Guaraguao, Bayamon, PR              $11,146.92

        j. Payments to Mr. Shakill Shafique on account
           of a debt owed by Prodetec, Inc., (purportedly
           a Debtor’s affiliate, and guaranteed by Mr.
           Henry Barreda in his personal capacity                $16,250.007      $1,250.00PP


  3
        Although Skytec paid Ms. Astor a $5,000 bonus in January 2018 and a $35,000 bonus
        one day before the Petition Date, no contract or written corporate resolution has been
        produced to document any agreements to pay bonuses to professional contractors. See
        Statement of Financial Affairs, Dkt. # 29 at page 51
  4
        Fernando Carbonell is Jose Miguel Carbonell’s brother.
  5
        Payments made on 8/22/2018 and 9/11/2018 on invoices dated 2015-2017 and payments
        for past due amounts owed by Securitrack, Prodetec and Skytrackers, Inc. (Debtor’s
        affiliates) See Debtor’s answer to production of documents from 341 meeting of
        creditors. Exh. 16. One of the payments also was transferred post-petition (Check
        No.8555 in the amount of $2,322.00, cleared on September 17, 2018.
  6
        Comsite is a name under which Mr. Barreda has testified that he conducts some business.
        See Exh. 30.Transcript of Rule 2004 Examination at Page, 38.
  7
        A check for $150,416.66 appeared at the bank account reconciliation schedules included
        as an exhibit to the September Monthly Operating Report. See, Docket No. 63 at p. 60.
        After LogiSYS raised the issue, Debtor has now appended copy of a check to the order of
        Mr. Shafique in the amount of $150,416.66 that was prepared and dated September 10,
        2018, but that was then voided and not cashed. See, Dkt. # 144.

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            k. Payments to Henry Barreda (identified as salary)      $79,027.74

            l. Payment of Henry Barreda’s bonuses                    $5,554.10

            m. Payments to Firstbank on auto loans for Henry Barreda,
               Sandra Diaz                                        $17,687.87

                       Total:                                        $657,250.13
                  Exhs. 8, 10-13, 18, 59, 62-69.

            9.       Before and after the Petition Date, the monthly compensation paid to the Debtor’s

      Sales Manager, Ms. Nadja Gonzalez,8 is $8,903.14. See Debtor’s Monthly Operating Reports

      (“MORs”) filed at Dkt. ## 63, 66, 75, 107, 113, 134, 177, 206, 219, 228. Exhs. 18-27.

            10.      These amounts collectively constitute an annual compensation of two employees

  and one independent contractor of $567,494.64, net of bonuses. Id.

            11.      Debtor’s Income Tax returns for the years 2017 through 2014 do not reflect any

  compensation specifically granted to Skytec’s officers. See Income Tax Returns Exhs. 31-34.

            12.      Debtor has paid monthly rent of $9,175 to Mr. Barreda on real property owned by

  him. See Statement of Financial Affairs, Dkt. # 29, at 47. Exh. 8.

            13.      Debtor has not demonstrated the necessity and reasonableness of the payment of

  this additional monthly compensation of $9,175 to Mr. Barreda and the benefit to the Debtor’s

  estate, or whether any specific clients for which the use of real property at Bo. Guaraguao in

  Bayamón, P.R., where Skytec has antennae allegedly installed.

            14.      Debtor has not provided a detailed schedule of how much it charges to its clients

  for such services to justify the substantial additional amount ($9,175) paid to its president. Exhs.

  18-27.




  8
            Upon information and belief, Ms. Nadja Gonzalez is Mr. Barreda’s former sister-in-law.

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         15.      During the last 12 months before the Petition Date, as well as after the Petition

  Date, the $928.91 monthly payments made to Firstbank were to pay for a mortgage note over Mr.

  Barreda’s property located at Bo. Guaraguao. Exh. 8.

         16.      The property located at Bo. Guaraguao does not appear to be registered under Mr.

  Barreda’s name. See Statement of Financial Affairs, Dkt # 29, at p. 44, October 2018 MOR, Dkt.

  # 66, at p. 9. See Mortgage Note, Exh 46, Copy of unsigned purchase deed, Exh 47. and copy of

  a certificate from the Property Registrar (in the Spanish language) that does not show Mr.

  Barreda as the owner of the property, Exh 48.

         17.      The auto loan paid since 2014 by Debtor on an Acura MDX 2014 is actually for

  the use of Ms. Sandra Iglesias, Mr. Barreda’s wife. Exh. 30 pp. 52-53.

         18.      Twelve monthly payments on that auto loan in the amount of $1,164 were made

  during the year before the filing of the petition. The Debtor has continued making those monthly

  payments, even after the Petition Date. See MORs at Dkts. ## 63, 66, 75, 107, 113, 134, 177,

  206, 219, 228. Exhs. 18-27.; Transcript of Mr. Henry Barreda’s Rule 2004 Examination Exh 30,

  at pp. 52-53.

         19.      Debtor’s “compensation packages” to insiders are in excess to the industry

  standards in Puerto Rico. See National Bureau of Labor Statistics Occupational Employment &

  Wages Statistics – Puerto Rico 2018. Exh. 49.

         20.      Debtor’s 2017 financial statements disclosed no receivable from SecuriTrack in

  the amount of $89,946 (see notes 4 and 5). See Debtor’s Disclosure of Affiliated Entities (Item

  3) produced by Debtor after the first session of Section 341 meeting of creditors. Exh. 50 and

  55. Debtor’s 2017 Financial Statements.




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          21.    Debtor intends to continue paying Mr. Barreda an annual, post-confirmation

  compensation of $239,000. See, Amended Disclosure Statement, Dkt. # 175, at p. 25.

          22.    Debtor intends to continue paying Ms. Annie Astor an annual, post-confirmation

  compensation of $176,000. See, Amended Disclosure Statement, Dkt. # 175, at p. 25.

          23.    The amount of trade accounts receivable that are stated at p. 8 of Debtor’s

  amended Disclosure Statement in the amount of $1,436,147, Dkt 175-6, p.8, approximates the

  accounts receivable reported in the MOR for the period ended September 30, 2018, in the

  amount of $1,426,792 (after deducting an allowance for uncollectible accounts in the amount of

  $499,137.51). Exh. 18.

          24.    The amounts used by Debtor’s expert, Mr. Luis Carrasquillo in his analysis

  regarding accounts receivables are different from the amounts included in the Monthly Operating

  Reports for September and October 2018, Dkt. 69, p. 58 and Dkt 66, pp. 4 and 106. Exhs. 18-19.

          25.    FirstBank account statement # 1409200705 described in Debtor’s Monthly

  operating Report for September 2018 reflected payments honored by the bank during the month

  of September 2018 and within which several payments, issued before the filing of the petition,

  were honored by the bank after the bankruptcy filing. See Dkt. No. 29 and Dkt. No. 63. Exhs. 8

  & 18.

          26.    Prepetition payments totaling approximately $638,000 cleared by the bank post-

  petition. Exhs. 8, 18, 59 & 70.

          27.    Skytec issued check number 8550 in the amount of $35,000, payable to Annie

  Astor’s d/b/a M&A CPA Advisors, on September 11, 2018, which Firstbank honored on

  September 12, 2018. Exhs.8, 18 & 59.




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         28.    Skytec issued check number 8551 in the amount of $1,639.77, payable to Annie

  Astor’s d/b/a M&A CPA Advisors on September 11, 2018, which Firstbank honored on

  September 12, 2018. Exhs.8, 18 & 59

         29.    Firstbank honored ACH payments in favor of BPPR for payment of credit card

  accounts on September 12, 2018 in the amount of $22, 417.77 and $11,395.05. Exhs.8, 18 & 59

         30.    Firstbank honored an ACH payment in favor of AMEX for payment of credit card

  accounts on September 12, 2018 in the amount of $2,387.69. Exhs.8, 18 & 59

         31.    Firstbank honored ACH payments in favor of Firstbank for payment of credit card

  accounts on September 12, 2018 in the amount of $1,413.58 and $525.00. Exhs.8, 18 & 59

         32.    Firstbank honored an ACH payment in favor of Great Lakes for payment of a

  student loan for the benefit of Mrs. Astor’s son on September 12, 2018 in the amount of $265.08.

  Exhs.8, 18 & 59

         33.    Skytec issued check number 8508, in the amount of $1,000, payable to Alfredo

  Jimenez, CPA on September 4, 2018. Firstbank honored the check on September 17, 2018.

  Exhs.8, 18 & 59

         34.    Skytec issued check number 8527 in the amount of $42,541.14, payable to Adriel

  Longo on September 6, 2018. Firstbank honored check 8527 on September 13, 2018. Exhs.8, 18

  & 59

         35.    Skytec issued check number 8526 in the amount of $65,537.93, payable to Tessco

  on September 7, 2018. Firstbank honored check 8526 on September 17, 2018. Exhs.8, 18 & 59

         36.    Skytec issued check number 8530 in the amount of $31,745.12, payable to Jorge

  Rivera on September 6, 2018. Firstbank honored check 8530 on September 17, 2018. Exhs.8, 18

  & 59



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         37.    Skytec issued check number 8534 in the amount of $38,179.88, payable to MVS

  Leading Satellite on September 10, 2018. Firstbank honored check 8534 on September 14, 2018.

  Exhs.8, 18 & 59

         38.    Skytec issued check number 8543 in the amount of $13,122.32, payable to Zoll

  Data on September 10, 2018. Firstbank honored check 8543 on September 18, 2018. Exhs.8, 18

  & 59

         39.    Skytec issued check number 8532 in the amount of $344,699.90, payable to

  Daniels Electronics on September 10, 2018. Firstbank honored check 8532 on September 20,

  2018. Exhs.8, 18 & 59

         40.    Skytec issued check number 8533 in the amount of $29,212.94, payable to

  Kenwood Comm. Corp. on September 10, 2018. Firstbank honored check 8533 on September

  24, 2018. Exhs.8, 18 & 59

         41.    Skytec issued check number 8560 in the amount of $331.29, payable to Tessco on

  September 12, 2018. Firstbank honored check 8560 on September 19, 2018. Exhs.8, 18 & 59

         42.    Skytec issued check number 8536 in the amount of $4,010, payable to REI on

  September 10, 2018. Firstbank honored check 8536 on September 14, 2018. Exhs.8, 18 & 59

         43.    Skytec issued check number 8555 in the amount of $2,322.0, payable to

  Carbonell & Co. on September 11, 2018. Firstbank honored check 8555 on September 17, 2018.

  Exhs.8, 18 & 59

         44.    Skytec issued check number 8559 in the amount of $1,024.66, payable to

  Kenwood Comm. Corp. on September 12, 2018. Firstbank honored check 8559 on September

  17, 2018. Exhs.8, 18 & 59




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         45.    Skytec issued check number 8540 in the amount of $3,200, payable to Alfredo

  Jimenez, CPA on September 10, 2018. Firstbank honored check 8540 on September 25, 2018.

  Exhs.8, 18 & 59

         46.    Skytec issued check number 8542 in the amount of $1250, payable to Shakil

  Shafique on September 10, 2018. Firstbank honored check 8527 on September 27, 2018.

  Exhs.8, 18 & 59

         47.    Firstbank honored an ACH payment in favor of BPPR for payment of a credit

  card account on September 13, 2018 in the amount of $11,809.04. Exhs.8, 18 & 59

         48.    Firstbank honored an ACH payment in favor of Oriental Bank for payment of a

  credit card account on September 13, 2018 in the amount of $8,671.65. Exhs. 8, 18 & 59

         49.    Firstbank honored an ACH payment in favor of Firstbank for payment of a credit

  card account on September 19, 2018 in the amount of $3,212.24. Exhs.8, 18 & 59

         50.    There is a gap between checks paid within 90 days before filing and the checks

  honored by the bank within 90 days prior to filing. See, Skytec, Inc. Bank account statement

  corresponding to June, July, and August 2018. Exhs. 56- 59

     B. Skytec:


         1.     Software sold by Logistic Systems was their Legacy CAD developed on a UNIX

  based system. Logistic Systems ended up installing their CAD Trak (Northstar remote system)

  because it works better in a wifi environment. However, this system did not have the capabilities

  of the Legacy CAD and had no RMS (Records Management Systems) capabilities. This caused

  significant delays from the beginning in all the projects. In addition, lack of planning and

  resource utilization by Logistic Systems not only cost significant delays in the AEMEAD project,



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  but also in the three projects that ensued. As a result, Skytec had to step up and configure the

  RMS system and all reports.

          -       (Testimonies of Mr. Barreda)

  2.      Two years after the AEMEAD Contract was signed, Skytec began to produce all reports

  that Logistic Systems was not able to produce and which Logistic Systems planned to use for

  their own clients.

          -    (Testimonies of Mr. Barreda)



       3 Skytec made all payments to Logistic Systems on the main softwares, except for

       $357,186.00 which was pending completion of the work on PRLEDS, Metro I and Metro II.

          -    (Testimony of Mrs. Astor)

       4. Skytec paid $166,720.00 for RMS training that was never completed.

          -    (Testimony of Mrs. Astor)

       5. Throughout 2011, 2012 and 2013, all four projects were delayed for various reasons,

       mostly due to Logistic Systems’ inability to provide a product that would be adequate, lack

       of resources and support, among other deficiencies.

          -    (Testimony of Mr. Barreda)

          6.      Even when PRLEDS, Metro I and Metro II projects had not been completed, in

  August of 2014 Logistic Systems rushed to bill for licenses on these projects and also on the

  uncompleted contract items and Lois Jensen was given instructions to bill retroactively.

          -    (Testimony of Mrs. Astor)

          7.      Functional Specifications Document (FSD) was never provided as required under

  the contract. (Testimony of Mr. Henry Barreda)



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            8.    The FSD document is essential in these projects to do a proper project

  management and is mentioned in many clauses in the contracts, as a prerequisite for other tasks

  under the contract. (Testimony of Mr. Henry Barreda)

            9.    Cad Calibration worksheets were never presented by Logistic to the Customer

  (defined in the contracts as the Commonwealth of PR) for signature. (Testimonof Mr. Henry

  Barreda)

            10.   Cad was never certified “live” for Metro I, Metro II and PRLEDS projects.

  (Testimony of Mr. Henry Barreda)

            11.   There was no RMS Calibration testing, because there was no functional RMS for

  Metro I, Metro II and PRLEDS projects. (Testimony of Mr. Henry Barreda)

            12.   There was no user training, RMS live operations, or RMS System acceptance, in

  any of the four projects, because there was no Functional RMS provided by Logistics.

  (Testimony of Mr. Henry Barreda)

            13.   Given Logistics’ inability to comply with its responsibilities under the PRLEDS,

  Metro I and Metro II projects, Skytec filed a complaint against Logistics that was later removed

  to the District Court. (See testimonies to be provided by Mr. Henry Barreda and Mrs. Annie

  Astor.)

            14.   Even after Skytec’s experts where disallowed, Skytec understood, and its counsel

  so stated, that Logistics could not be successful in its counterclaim because it never completed

  the PRLEDS, Metro I and Metro II projects. (See testimonies to be provided by Mr. Henry

  Barreda and Mrs. Annie Astor.)

            15.   Up until the District Court Order was entered, Skytec was under the impression

  that any judgment in favor of Logistics would not include payment for licenses for the PRLEDS



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  and Metro I projects since these projects were never completed and/or went “live”. In addition

  regarding the first project, AEMEAD, Skytec understood that any judgment in favor of Logistics

  for these licenses would be reduced by the funds that Skytec had to incur to conclude this first

  project. (See testimonies to be provided by Mr. Henry Barreda and Mrs. Annie Astor.)

         16.     The motion filed by Skytec’s attorney on July 31, 2017 at Docket No. 75, was

  never consulted with Skytec and is contrary to what Skytec’s attorney had been telling Skytec

  regarding its chances to succeed in the case. (See testimonies to be provided by Mr. Henry

  Barreda and Mrs. Annie Astor.)

         17.     The mismanagement of the case by Skytec’s attorney in the District Court was not

  known to Skytec until after the bankruptcy petition was filed. (See testimonies to be provided by

  Mr. Henry Barreda and Mrs. Annie Astor.)

         18.     Since the Court already decided that Debtor was insolvent when the alleged

  avoidance payments were made, only the payments listed in Exhibit Z to CPA Carrasquillo’s

  report may be considered avoidable. (See CPA Luis Carrasquillo’s report and his testimony.)

         19.     Any avoidance action to be filed has to take into consideration the impact on the

  operations and cannot hinder the feasibility of the plan of reorganization already submitted.

  (Testimonies of Mr. Henry Barreda, Mrs. Annie Astor, and CPA Carrasquillo)

         20.     Skytec will name a plan administrator to make the final decision as to the

  avoidance actions to be filed, which must take into consideration the overall benefit to the estate

  and the impact in the feasibility of the plan of reorganization. (Testimonies of Mr. Henry

  Barreda and Mrs. Annie Astor)

         21.     Skytec’s revenues and collections are very cyclical, especially during the last

  three (3) years, where approximately 30% of its revenues depended on three (3) governmental



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  contracts, collections which are usually performed during the last quarter of each year. (See CPA

  Luis Carrasquillo’s report and his testimony.)

         22.     Due to the lack of normal financing agreements with local financial institutions

  (i.e. line of credits, short term loans, etc.), each time Debtor is granted with a special project, it

  needs to obtain funds, cash advances, or loans from private investors or lenders, with special

  terms of repayment. (See CPA Luis Carrasquillo’s report and his testimony and testimony from

  Mrs. Annie Astor.)

         23.     Likewise, Debtor has reached agreements with a small group of suppliers that

  agreed to receive their payments, when Debtor receives funds and/or collections from its clients,

  at the completion or delivery of any specific special project. (See CPA Luis Carrasquillo’s report

  and his testimony.)

         24.     As a result, Debtor’s ordinary course of business was and is to pay its private

  lenders’ loans and certain accounts payable based on its collections cycle, to wit, immediately

  after performing the collections from any special project or when the governmental agencies

  contracts revenues are collected. (See CPA Luis Carrasquillo’s report and his testimony and

  testimony from Mrs. Annie Astor.)

         25.     During 2018 and after the passage of Hurricane María over the Island, a very

  extraordinary situation, the Puerto Rico Emergency Management Administration determined that

  Debtor was the only company capable of performing the reconstruction project of government

  interoperability emergency systems in an expeditious and cost-effective manner, due to its

  expertise, experience, surveys of the Island, the exclusivity with various brands and equipment

  suppliers, among other factors. (See Exhibit A of CPA. Carrasquillo’s report and his testimony

  and testimonies from Mr. Henry Barreda and Mrs. Annie Astor).



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         26.      Such special projects for the replacement of the mobile radio communications

  infrastructure of (i) the PR Emergency Management Administration (“PREMA” or “AEMEAD”)

  and of (ii) the Medical Emergencies Agency, produced gross revenues of $2,418,000. (See CPA

  Luis Carrasquillo’s report and his testimony and testimonies from Mr. Henry Barreda and Mrs.

  Annie Astor.)

         27.      However, for the completion of the same, certain loans from private lenders and

  special arrangements with suppliers were needed to purchase the equipment, materials, etc.,

  necessary for the same and to pay the incremental costs involved in the projects. (See CPA Luis

  Carrasquillo’s report and his testimony and testimonies from Mr. Henry Barreda and Mrs. Annie

  Astor..)

         28.      This was an extremely different situation that required an expeditious process to

  assure the restoration of the most important system in Puerto Rico for saving lives, emergency

  management, and security communications.         (See CPA Luis Carrasquillo’s report and his

  testimony and testimonies from Mr. Henry Barreda and Mrs. Annie Astor.)

         29.      In general terms the agreements called for loans or accounts repayments, when

  the projects were delivered, and the funds from the same were collected, from the different

  agencies. (See CPA Luis Carrasquillo’s report. and his testimony and testimonies from Mr.

  Henry Barreda and Mrs. Annie Astor.)

         30.      90% of the payments made during the 90 days prior to the filing date were in

  accordance with such terms, converting this pattern in Debtor’s ordinary course of business or

  inclusive, receiving contemporaneous exchange of value. (See CPA Luis Carrasquillo’s report

  and his testimony.).




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         31.      Skytec’s bankruptcy counsel answered Logistics’ request for the filing of

  avoidance actions through email dated February 8, 2019, wherein it was affirmed that Debtor

  was solvent during when the subject payments were made, were not payments for antecedent

  debts, and were made in the ordinary course of business. (See E-mail from Mr. Alexis Fuentes

  dated February 8, 2019; and testimonies of Mr. Barreda and/or Mrs. Astor.)

         32.      Mr. Fuentes’ email was never answered, and only after Skytec filed a motion

  requesting the disqualification of Logistic’s vote was that Logistics filed its request for the

  appointment of a Chapter 11 Trustee. (Judicial knowledge of the motions filed; and testimonies

  of Mr. Barreda and/or Mrs. Astor)

         33.      Debtor amended the 480.6A Form to M A CPA Advisor for the year 2018 in order

  to correctly state that the payment of $35,000 was for commissions. (See Amended 480.6A

  Form; and testimonies of Mr. Barreda and/or Mrs. Astor)

                              III.    PROPOSED CONCLUSIONS OF LAW

             A. Movant LogiSYS


             1. The Debtor’s Prepetition Misconduct Constitutes Cause to Appoint a Trustee.

       Section 1104(a)(1) of the Bankruptcy Code describes the grounds for appointment of a

  Chapter 11 Trustee broadly under the umbrella of “for cause, including fraud, dishonesty,

  incompetence, or gross management of the debtor by current management,” which may include

  conduct occurring “either before or after the commencement of the case,” as well as “for similar

  cause.” See 11 U.S.C. § 1104(a)(1). Under the plain meaning of the statutory text, the Debtor’s

  extreme misconduct as adjudged by the District Court in pre-petition litigation leading up to (and

  directly resulting in) the Debtor’s bankruptcy constitutes “cause” to appoint a Chapter 11

  Trustee.

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       Indeed, courts have held that a debtor’s discovery misconduct constitutes “cause” to

  appoint a Chapter 11 Trustee. See, e.g., Ngan Gung Rest. v. Official Comm. of Unsecured

  Creditors of Ngan Gung Rest. (In re Ngan Gung Rest.), 195 B.R. 593, 599 (S.D.N.Y. 1996)

  (upholding bankruptcy court’s appointment of a trustee because debtor’s discovery misconduct in

  the bankruptcy case constituted “cause” under Section 1104(a)(1)); 7 Collier on Bankruptcy

  ¶ 1104.02 (16th ed. 2019) (“The court may not use the appointment of a trustee as a sanction for

  discovery misconduct, although such misconduct may itself provide cause under section

  1104(a)(1) for the appointment.”) (emphasis added). The mere fact that a debtor’s discovery

  misconduct occurred pre- or post-petition is irrelevant to the determination that such misconduct

  may constitute cause to appoint a trustee. See In re Rivermeadows Assocs., Ltd., 185 B.R. 615,

  619 (Bankr. D. Wyo. 1995) (“[T]he Code is clear that the pre-petition conduct of the debtor’s

  management may be the sole deciding factor” in appointing a Chapter 11 Trustee); see also

  Tarquinio v. Tarquinio (In re Tarquinio), Civ. Action No. 17-cv-01917 (PGS), 2017 U.S. Dist.

  LEXIS 194421, *13 (D.N.J. Nov. 27, 2017) (upon a motion to convert to chapter 7 under 11

  USC 1112(b) or appoint a trustee under Section 1104(a)(1), affirming that debtor’s misconduct in

  pre-petition litigation, including violations of discovery orders, constituted “cause” under Section

  1112(b)).

       In its Opposition, the Debtor does not cite any case law to support its argument that pre-

  petition litigation misconduct does not constitute “cause.” The Debtor also fails to cite any case

  law that may hold that the Court’s finding of such cause must be based on post-petition

  bankruptcy-related conduct. Indeed, the Debtor cites no authority at all on this point.

       Instead, without a hint of irony, the Debtor’s sole response is that LogiSYS has not cited a

  case that is singularly and exactly on point—i.e., a case finding cause solely based on pre-



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  petition discovery misconduct, where such misconduct was allegedly “due to Debtor’s prior legal

  representation.” (Debtor’s Opp. at 8). The Debtor’s empty response reveals the weakness of its

  position. The case law shows that the Debtor’s “extreme misconduct,” see, e.g., District Court

  Order, Civil Dkt. # 160, at p. 4 (“Skytec has committed extreme misconduct not only by flouting

  the district court’s scheduling orders but also by willful indifference to LogiSYS’s attempts to

  coordinate discovery, and persistent refusals to produce documents in its possession.”); id. at p. 9

  (“Skytec’s misbehavior and obstructionism during the discovery process has been extensive.”),

  and ensuing attempt to escape the consequences thereof by abusing the bankruptcy process

  clearly constitutes cause to appoint a Chapter 11 Trustee.

        2. The Debtor’s “Compensation” to Insiders Constitutes Cause to Appoint a Trustee.

       Curiously, the Debtor attempts to rebut LogiSYS’s argument that the Debtor made

  potentially avoidable fraudulent transfers and paid excessive compensation to its insiders by

  asserting that such transfers were “compensation” and “already disclosed.” See Debtor’s Opp. at

  5–6. The Debtor’s mere disclosure of transfers or characterization of them as compensation does

  not, ipso facto, inoculate them from scrutiny as potentially avoidable transfers or evidence of

  gross mismanagement. Nevertheless, the Debtor attacks LogiSYS’s argument as “mind blowing”

  and supports this hyperbole by citing absolutely no legal authority of any kind. Opp. at p. 10.

  The Debtor doth protest too much.

       To the contrary, case law—including cases previously cited by LogiSYS—is clear that

  excessive compensation, including otherwise questionable payments to insiders, may constitute

  excessive compensation or gross mismanagement constituting cause to appoint a trustee under

  Section 1104(a). See In re Boineau’s, Inc., No. 90-1165, 1992 U.S. App. LEXIS 3447, at *1-2

  (4th Cir. Mar. 3, 1992) (affirming appointment of trustee under Section 1104(a) based on gross



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  mismanagement founded on, inter alia, “excessive salaries”). Here, the Debtor characterizes

  numerous non-salary transfers to or for the benefit of insiders as reimbursements or part of their

  “compensation.” Now characterized as compensation packages, but without a single written

  document to prove that the amounts paid are in accordance to the standards of the industry in

  Puerto Rico for that type of entity.

       As one example, in addition to regular salary, the Debtor characterizes certain monthly

  payments in excess of $10,000 to Mr. Barreda, d/b/a Comsite, as part of his “compensation,” as

  opposed to rent for the use of Mr. Barreda’s real property.9 See In re Sharon Steel Corp., 86 B.R.

  455, 461, 465 (Bankr. W.D. Pa. 1988) (finding “gross mismanagement and cause for appointing a

  trustee under § 1104(a)(1) and § 1104(a)(2)” because, inter alia, “compensation was excessive,

  and possibly recoverable as fraudulent conveyances”). The Debtor also admits that as part of Mr.

  Barreda’s “compensation,” the Debtor purchased and pays for two cars for the personal use of

  Mr. and Mrs. Barreda.10 See Opp. at p. 16. See In re N. Am. Commc’ns, Inc., 138 B.R. 175, 179


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          In the Opposition, the Debtor insists that it has clearly and always characterized these
  transfers as part of Mr. Barreda’s compensation. The Debtor complains that any confusion as to
  the nature of these particular transfers is attributable to LogiSYS, though the Debtor finds it
  necessary to expound at length on why and when the Debtor (in its Schedules) and Mr. Barreda
  (at the 341 Meeting of Creditors) have at various times for various reasons described these same
  transfers as “rent” for the use of Mr. Barreda’s property. See Dkt. 29, p. 47. To the extent any of
  the Debtor’s waters seem muddy to LogiSYS or the Court, it is because they can see only that
  which the Debtor has provided.
  10
         On review of the audio from the 341 Meeting of Creditors, Mr. Barreda testified that Mr.
  Carbonell drives a Ford Edge. Counsel for LogiSYS misheard and mistook Mr. Carbonell’s Ford
  for the Debtor’s scheduled Ford F-250, for which the Debtor also listed its associated loan
  payments to First Bank as being “to or for the benefit of an insider.” See Dkt. # 29 at p.44.
  LogiSYS regrets the error.
  In Exhibit B to its Opposition, discussing payments to creditors for the benefit of insiders, the
  Debtor avers that its listed auto loan payments to First Bank “includes payments for two autos
  for Mr. and Mrs. Barreda’s use, as part of Mr. Barreda’s compensation, and a first payment of
  $1,003.00 for the Ford F-250 acquired for the company’s installation of communications
  equipment in the mountain sites throughout Puerto Rico.” See Opp. at Ex. B p.5 and 16. The
  disclosed existence of such payments notwithstanding, the identity of the insider (if any) who
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  (Bankr. W.D. Pa. 1992) (“excessive” compensation and reimbursements which officers paid

  themselves, and various vehicles purchased for their and their families’ use, without any way to

  determine extent to which such vehicles were used for business or personal purposes, were

  indicative of “gross mismanagement” warranting appointment of trustee under Section 1104(a)).

          That such transfers were disclosed, as was required of the Debtor, does not affect the

  Section 1104(a) analysis. And the Debtor’s repeated emphasis that these transfers are “not in

  addition to the compensation already disclosed,” Opp. at p. 6–7, is at odds with what LogiSYS

  alleged and argued in the Motion. Specifically, “[A]s presented in the monthly operating reports,

  the monthly compensation for Mr. Barreda is $21,060.57.” See Mot. at 6; accord Dkt. # 113

  (January 2019 Monthly Operating Report (“MOR”), listing the aforementioned transfers in

  addition to Mr. Barreda’s monthly salary of $7,490.48). Indeed, that is the point. The reason that

  Mr. Barreda’s salary is an excessive $21,060 per month and indicative of gross mismanagement

  is precisely because they are transfers of assets for personal use, are excessive, and possibly

  recoverable as fraudulent conveyances.

             3.Supplementary Information Required with income tax returns applicable to
                      businesses with volume of business of $3,000,000 or more:


          On December 25, 2013, Puerto Rico Act No. 163 was enacted, making significant changes

  to the audited financial statements’ requirements for supplementary schedules (“Act 163-2013”).

  Act 163-2013 amended Section 1061.1511 of the Puerto Rico Internal Revenue Code of 2011

  (“PR Code”) to require certain supplementary information “to be submitted with its income tax

  return, underlying to the financial statements and other records used to prepare the financial


  benefitted from the Debtor’s payments on the Debtor’s loan obligation associated with the
  Debtor’s Ford F-250 is unclear.
  11
       13 LPRA 30255.

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  statements and submitted to the audit procedures applied in the audit of the financial statements

  made by a certified public accountant…” (Cited in part)

       Starting with taxable years commencing after December 31, 2012, certain supplementary

  information is required to be submitted as part of the audited financial statements required to

  accompany the filing of income tax return of businesses with a business volume in excess of $3

  million. Section 1061.15 of the PR Code, provides a list of the supplementary information

  required to be submitted, which includes in its subsection (I) the following: “for all taxpayers,

  amount of wages reported on form 499R2/W2PR, as well as other payments, reimbursements

  or compensations to owners, shareholders, partners or members, including payments made on

  their behalf, if any”. On the other hand, subsection (e) of Section 1061.15 provides that “the

  Secretary shall establish by regulation, circular letter, informative bulletin or administrative

  determination of a general character, the applicability and effectiveness of the provisions of this

  Section.”

       On March 6, 2014, the Puerto Rico Treasury Department (“PRTD”) issued Administrative

  Determination 14-06 (“AD 14-06”) with a guide for the preparation of the Supplementary

  Information Report. AD 14-06 mentioned that Schedule 19 of the Supplementary Information

  Report must include: “amount of wages reported on form 499R2/W2PR, as well as other

  payments, reimbursements or compensations reported on forms 480.6A and 480.6B to owners,

  shareholders, partners or members, including payments made on their behalf, if any. This

  Schedule shall include the amounts reported as wages/salaries, commissions, allowances,

  reimbursements or any other type of compensation paid to the owners, shareholders, partners

  or members with 25% participation or more in the entity that makes the payment. The

  Schedule shall only include the amounts reported in form 499R2/W2PR or forms 480.6A and



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  480.6B filed within the audited accounting period. The information shall be detailed and

  separated for each of the shareholders, partners or members.” (Emphasis ours)

          This is the example provided in AD 14-06 for Schedule 19:

  Schedule 19         Salaries reported on Form 499R-2/W-2PR and/or other payments,
                      reimbursements or compensation reported on Forms 480.6A or 480.6B to
                      the owners, shareholders, partners or members with a 25% participation
                      or more

                                                                   Other payments,
                                                                   reimbursements or
                                                                   compensations to
                                                                   the owners,
                                        Salaries                   shareholders,
                        Last 4 digits   reported   Other           partners or
                        of SSN or       on Form    compensation    members with a
                        complete        499R/W-    reported on     25% or more
  Description           EIN             2PR        480.6A or 480.6 participation             Total

  Name of Person        XXX-XX-1234 $ XXX          $ XXX              $ XXX                 $ XXX
  Name of Entity        XX-XXXXXXX    XXX            XXX                XXX                   XXX


           A taxpayer may deduct reasonable compensation for personal services “actually

  rendered” for him in connection with his trade, business, or profession or in connection with his

  “nonbusiness activities”. Section 1031.0112 of the PR Code provides, in its pertinent part, that in

  computing net income there shall be allowed the following deductions: “(1) trade or business

  expenses, as provided in section 1033.01, which had not been claimed as a deduction against

  adjusted gross income”. On the other hand, section 1033.0113 of the PR Code provides that

  “there shall be allowed as deduction all the ordinary and necessary expenses paid or incurred

  during the taxable year in carrying on any trade or business, including: (1) a reasonable

  allowance for salaries or other compensation for personal services actually rendered.”


  12
       13 LPRA 30101.
  13
       13 LPRA 30121(a)(1).

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  Employers who at the time of filing the income tax return have not remitted to the PRTD the full

  amount of income tax withheld from employees’ salaries for the year covered by the return, may

  not deduct such salaries as operating expenses.

           Only a “reasonable” compensation for personal services is deductible by an employer. In

  summary, “reasonable” has been defined as “the amount that would ordinarily be paid for like

  services by like enterprises under like circumstances.” Article 23(a)-6 of the Puerto Rico Income

  Tax Act of 1954 Regulation14 provides as follows:

       (a) “There may be included among the ordinary and necessary expenses paid or incurred in carrying
           on any trade or business a reasonable allowance for salaries or other compensation for personal
           services actually rendered. The test of deductibility in the case of compensation payments is
           whether they are reasonable and are in fact payments purely for services.
       (b) The test set forth in paragraph (a) of this article and its practical application may be further stated
           and illustrated as follows:
           (1) Any amount paid in the form of compensation, but not in fact as the purchase price of the
               services, is not deductible. An ostensible salary paid by a corporation may be a
               distribution of a dividend on stock. This is likely to occur in the case of a corporation
               having few shareholders, practically all of whom draw salaries. If in such a case the salaries
               are in excess of those ordinarily paid for similar services, and the excessive payments
               correspond or bear a close relationship to the stockholdings of the officers or employees,
               it would seem likely that the salaries are not paid wholly for services rendered, but that
               the excessive payments are distribution of earnings upon the stock. An ostensible salary
               may be in part payment for property. This may occur, for example, where a partnership sells
               out to a corporation, the former partners agreeing to continue in the service of the
               corporation. In such a case it may be found that the salaries of the former partners are not
               merely for services, but in part constitute payment for the transfer of their business.
           (2) …
           (3) In any event the allowance for the compensation paid may not exceed what is reasonable
               under all circumstances. It is in general just to assume that reasonable and true
               compensation is only such amount as would ordinarily be paid for like services by like
               enterprises under like circumstances. The circumstances to be taken into consideration are
               those existing at the date when the contract for services was made, not those existing at the
               date when the contract is questioned.” (Emphasis ours)


  14
       P.R. ITA Reg. Art. 23(a)-6. Article 23(a) of the Regulations issued under the Puerto Rico
            Income Tax Act of 1954, as amended (the “P.R. ITA Reg.”). Please note that Section
            23(a) of the ITA is equivalent to Section 1033.01(a) of the PR Code. As such, pursuant to
            Section 6091.01(a)(1) of the PR Code, all regulations adopted by virtue of the 1994
            Code, or any previous tax act, shall continue in full force and effect until the regulations
            under the PR Code are issued, provided said regulations correspond to the provisions of
            the PR Code that are identical to the corresponding provisions in said Acts.

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          With regards to the treatment of excessive compensation, Article 23(a)-7 of the Puerto

  Rico Income Tax Act of 1954 Regulation15 provides as follows:

          “The income tax liability of the recipient in respect of an amount ostensibly paid to him
          as compensation, but not allowed to be deducted as such by the payor, will depend upon
          the circumstances of each case. Thus, in the case of excessive payments by
          corporations, if such payments correspond or bear a close relationship to stock
          holdings and are found to be a distribution of earnings and profits, the excessive
          payments will be treated as a dividend. If such payment constitute payment for
          property, they should be treated by the payor as a capital expenditure and by the recipient
          as part of the purchase price. In the absence of evidence to justify other treatment,
          excessive payments for salaries or other compensation for personal services will be
          included in gross income of the recipient and subjected to both normal tax and surtax.”
          (Emphasis ours).

       In conclusion, in order to ascertain whether any compensation paid to the shareholders or

  members of the entity is excessive, all the circumstances surrounding the entity and the

  industry’s standards must be analyzed. If it is concluded that the compensation paid is excessive,

  then the company should not be allowed to deduct the whole compensation as an expense for

  income tax purposes and the amount determined as excessive should be recharacterized as a

  dividend or distribution to the shareholder or member, which is not deductible as an expense.

         4. The Debtor’s Failure to Pursue Avoidance Actions Constitutes Cause to Appoint a
                                               Trustee.


       As the cases cited above, in the Motion, and in LogiSYS’s Plan Objection suggest, transfers

  of purported “compensation,” for which the Debtor does not receive reasonably equivalent value

  or that are intended to hinder or delay other creditors, present colorable claims for avoidance as

  actually or constructively fraudulent. In addition to constituting gross mismanagement in their




  15
     P.R. ITA Reg. Art. 23(a)-7. Article 23(a) of the Regulations issued under the Puerto Rico
  Income Tax Act of 1954, as amended (the “P.R. ITA Reg.”). Please note that Section 23(a) of the
  ITA is equivalent to Section 1033.01(a) of the PR Code. Refer to footnote 4 above.
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  own right, the Debtor’s failure to pursue actions to avoid those transfers further constitutes cause

  to appoint a Chapter 11 Trustee.

     Here, the Debtor does not acknowledge or even mention the existence of colorable potential

  fraudulent conveyance actions to avoid these transfers. Indeed, the Debtor appears to be

  operating under the mistaken view that “the compensation paid to [the Debtor’s] officers . . . is

  not a transfer of asset[s].” Opp. at p. 10. It manifestly is. All payments by a debtor, whether for

  compensation (in the form of salary or otherwise) or anything else, are transfers of the Debtor’s

  assets. That is why courts may find such payments colorably avoidable as fraudulent transfers

  constituting cause to appoint a Chapter 11 Trustee.

     Courts rightly view transfers to insiders, whether purported to be “compensation” or “loan

  repayments” with heightened scrutiny, particularly where there is no written documentation of

  the underlying obligation. Debtor did not produce any documents to LogiSYS evidencing these

  purported compensation obligations because, according to the Debtor, there are “none.” See Obj.

  to Amended Disclosure Statement at p. 14. Likewise, the Debtor has failed to produce

  documentation of loans by Mr. Shafique or Ms. Astor to or for the benefit of the Debtor. See id.

  at 11–13. As discussed at length in LogiSYS’s Objection to Amended Disclosure Statement,

  courts have found that such purportedly undocumented “loans” or non-salary “compensation”

  arrangements should be recharacterized as gifts or equity and avoided, along with any payments

  thereon, as actually or constructively fraudulent. See id. at 11–17 (analyzing potential

  recharacterization and avoidance of the Debtor’s “loan” and “compensation” payments to

  insiders). And, as discussed in the Plan Objection and the Motion, the Debtor-in-possession,

  being controlled by the very insiders who would be the target of such actions, is hopelessly




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  biased and conflicted and cannot be relied upon pursue actions to avoid fraudulent transfers to its

  insiders and affiliates.

      Nor does the Debtor’s Amended Disclosure Statement adequately explain or justify the

  Debtor’s refusal to pursue avoidance actions with respect to potential preference actions. The

  Amended Disclosure Statement and the Opposition merely rely on the letter previously provided

  by the Debtor declining to pursue avoidance of preferential transfers. As a response to the

  Motion, however, the Debtor’s pro forma amendments to the Disclosure Statement and reliance

  on its prior letter fall woefully short.

      As LogiSYS previously explained in the Plan Objection, the Debtor appears to

  misunderstand the fundamental elements and nature of preference law. Specifically, first, the

  Debtor mistakenly asserts that a preference depends on the existence of a past due debt. In truth,

  a preference requires only an antecedent debt, which is merely an existing debt, including a debt

  that is not yet due. See Plan Obj. at 25–27. Second, and related, whether a debt is paid when due

  may be a factor, but is not dispositive of, the availability of an affirmative defense that payment

  was made in the ordinary course, but that has nothing to do with whether the elements of a claim

  for preference may colorably be asserted. See id. at 27–28. Moreover, the Debtor’s assertions that

  such transfers were “made according to contractual terms”, Opp. at 9, cannot be credited given

  that the Debtor also insists that there are no documented agreements (e.g., for “compensation” to

  various insiders) or has failed to produce documented agreements (e.g., supporting “loans” from

  insiders such as Ms. Astor) supporting such payments.

      Third, for purposes of preference law, the Debtor was presumptively insolvent during the 90

  days before the Petition Date. See id. at 27; Obj. to Amended Disclosure Statement at 17–18. It is




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  the Debtor’s burden to show otherwise, and that burden is not carried by the Debtor’s mere

  assertion to the contrary.

         A debtor is insolvent when its debts exceed its assets - the "traditional bankruptcy balance

  sheet test." In re Koubourlis, 869 F.2d 1319, 1321 (9th Cir. 1989). This test is codified at §

  101(32)(A), which defines insolvency to mean: "with reference to an entity other than a

  partnership and a municipality, financial conditions such that the sum of such entity's debts is

  greater than all of such entity's property, at a fair valuation" exclusive of certain exempted or

  fraudulently transferred property. Under the Code, the term debt "means liability on a claim." 11

  U.S.C. § 101(12). And the term "claim" is defined under the Code to include "right to payment,

  whether or not such right is reduced to judgment, liquidated, unliquidated, fixed, contingent,

  matured, unmatured, disputed, undisputed, legal, equitable, secured, or unsecured; . . . ." DC

  Media Capital, LLC v. Imagine Fulfillment Servs., LLC (In re Imagine Fulfillment Servs., LLC)

  2014 Bankr. LEXIS 3369 (B.A.P 9TH Cir. 2014)

         A court determines a debtor's insolvency based on "a fair valuation" of the debtor's assets

  and liabilities, employing a two-step analysis. Id. First, the court determines whether the debtor

  was a "going concern" or "on its deathbed." In re DAK Indus., Inc., 170 F.3d 1197, 1199 (9th Cir.

  1999). Second, "the court must value the debtor's assets, depending on the status determined in

  the first part of the inquiry, and apply a simple balance sheet test to determine whether the debtor

  was solvent." Id. (citation omitted). The fair value of assets belonging to a "going concern"

  debtor is "the fair market price of the debtor's assets as if they had been sold as a unit, in a

  prudent manner, and within a reasonable time." Id. at n.3. In contrast, a fair valuation of a debtor

  "on its deathbed" is the liquidation value of the debtor's assets. Id. Imagine Fulfillment Services,




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  LLC, vs. Dc Media Capital, LLC, (In re: Imagine Fulfillment Services, LLC), 489 B.R. 136

  Bankr. C. California 2013) [Amended Memorandum for publication]

     In Perez v. Bui (In re Tenorio), No. CC-17-1102-FLKu, 2018 Bankr. LEXIS 456, at *24-25

  (B.A.P. 9th Cir. Feb. 8, 2018) citing In re Sierra Steel, Inc., 96 B.R. 275, 279 (B.A.P 9th Cir.

  1989). the bankruptcy appellate panel held:

          [a] claim, even if disputed, is nevertheless a "debt" for the purposes of considering
      a debtor's insolvency:
          To the extent the bankruptcy court refused to consider the $300,000 claim only
      because it was a disputed or unliquidated claim, its determination was erroneous. A
      "debt" is defined as liability on a claim. 11 U.S.C. § 101(11). A claim includes a right to
      payment, even if it is contingent, unmatured, or not reduced to judgment. 11 U.S.C. §
      101(4A). Since        claims     may       be     disputed     or contingent,     disputed
      or contingent liabilities must be included in determining total indebtedness for purposes
      of determining insolvency. See 2 Collier on Bankruptcy ¶ 101.31[5].


         Courts have also determined that "There is no generally accepted accounting principle for

  analyzing the insolvency of a company." Arrow Elecs., Inc. v. Justus (In re Kaypro), 218 F.3d

  1070, 1076 (9th Cir. 2000) (citing Sierra Steel, Inc. v. Totten Tubes, Inc. (In re Sierra Steel, Inc.),

  96 B.R. 275, 278 (9th Cir. BAP 1989)). GAAP are not controlling. See In re Sierra Steel, Inc., 96

  B.R. at 278. In particular, "[w]ith regard to the sum of [a debtor's] debts, GAAP are . . .

  inapposite because they do not report liabilities in accordance with the right to payment standard

  of 11 U.S.C. § 101(5) and (12)."Devan v. The CIT Group/Commercial Servs., Inc. (In re Merry-

  Go-Round Enters., Inc.), 229 B.R. 337, 343 (Bankr. D. Md. 1999). DC Media Capital, LLC v.

  Imagine Fulfillment Servs., LLC (In re Imagine Fulfillment Servs., LLC) 2014 Bankr. LEXIS

  3369 (B.A.P 9TH Cir. 2014)

         In Barnhill v. Johnson, 503 U.S. 393 (1992) the US Supreme Court held that, in

  determining whether a transfer occurred within the 90-day preference period of 547(b)(4)(A), a

  transfer by check is deemed to occur on the date the drawee bank honors the check, because (1)

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  there is no unconditional transfer of the debtor's interest in property prior to the date the check is

  honored; (2) only when the debtor has directed the drawee bank to honor the check, and the bank

  has done so, has the debtor implemented a "mode, direct or indirect … of disposing of property

  or an interest in property" within the definition of a transfer in 11 USCS 101(54); (3) having

  received the check gives the creditor at most a chose in action against the debtor, which cannot

  fairly be characterized as even a "conditional" right to property or an interest in property under

  101(54); (4) the date-of-honor rule is consistent with 11 USCS 547(e)(2)(A)--which provides that

  a transfer occurs at the time the transfer takes effect between the transferor and the transferee--as

  the transfer of funds cannot be said to take effect until the moment of honor, particularly where

  the transferor retains the ability to stop payment on the check until the very last; and (5) no

  support for a different rule is provided by statements by members of Congress that payment is

  considered to be made when the check is delivered for purposes of the preferential transfer

  avoidance exceptions of 11 USCS 547(c)(1) and 547(c)(2).

         In Lewis v. Kaelin (In re Cresta Tech. Corp.), 583 B.R. 224 (B.A.P. 9th Cir. 2018) the

  Bnakruptcy Appellate Panel for the 9th Circuit noted that a bankruptcy filing before a check is

  honored is very different from a transaction in which the payment was actually completed

  prepetition; the transaction is incomplete for not having been paid due to the account now

  belonging to the bankruptcy estate. Therefore, neither the §547(b) nor the affirmative defenses

  available under § 547 (c) apply. The BPA holding affects any case where the Debtor delivers

  ordinary checks prior to the petition date that are subsequently honored post-petition.

         The Southern District of Florida held in Mukamal v. Enriquez (In re Rx Cardiovascuar

  Specialties, Inc.) 355 B.R. 873, 2006, citing Lawrence v. Bonadio, Insero & Co., et al. (In re

  Interco Systems, Inc.), 202 B.R. 188 (Bankr. W.D. N.Y. 1996) that section 549 does not contain


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  an exception for ordinary course of business payments because there is no debtor's business once

  a petition has been filed, creating an estate under section 541 and a new entity, the debtor-in-

  possession, to manage that estate). Also cited Celendenen v. Van Dyk Oil Co., Inc. (In re By-Rite

  Distributing, Inc.), 89 B.R. 906 (D. Utah 1988) where the court found that the contemporaneous

  exchange defense to preference action inapplicable in defense of a section 549 post-petition

  transfer. The bankruptcy court in Florida pointed out that there does not appear to be any case in

  which a court found that defenses available under 11 U.S.C. § 547 are available to an action to

  avoid a transfer pursuant to 11 U.S.C. § 549. "Congress, by enacting the ordinary course of

  business exception to an avoidable preference in Section 547(c)(2), has demonstrated that it is

  aware of and capable of enacting such an exception when it feels that it is appropriate. However,

  Congress has elected not to enact such an exception with respect to post-petition transfers …." In

  re Interco Systems, Inc., 202 B.R. at 192, Mukamal v. Enriquez (In re Rx Cardiovascuar

  Specialties, Inc.) 355 B.R. 873,875, 2006.

        This court has followed the interpretations on avoidance of post-petition transfers. In

  Correa v. P.R. Treasury Department, 206 Bankr. LEXIS 2383 (2016) this bankruptcy court

  indicated that under section 549(a), the trustee "may avoid a transfer of property of the estate . . .

  that occurs after the commencement of the case; and . . . that is not authorized under this title or

  by the court. 11. U.S.C. § 549(a). "To satisfy the elements of § 549(a), the debtor in possession

  must demonstrate that, 1) after the commencement of the bankruptcy case in question, 2)

  property of the estate 3) was transferred, and 4) the transfer was not authorized by the

  Bankruptcy Court or by a provision of the Bankruptcy Code." Citing ETS Payphones, Inc. v.

  AT&T Universal Card (In re PSA, Inc.), 335 B.R. 580, 584-85 (Bankr. D. Del. 2005).




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          5.The Debtor’s Self-Dealing Plan Is Unlawful and Constitutes Cause to Appoint a
                                               Trustee.

       The Debtor’s casual approach to its financial wherewithal, depending on the circumstance,

  also serves to illustrate the Debtor’s bad faith proposal of the Plan and its irretrievable failure to

  comply with Bankruptcy Code. The Debtor’s bald assertion that its Plan “complies with all the

  provisions of the Bankruptcy Code,” turns a deaf ear to the undisputed rights of unsecured

  creditors and obligations of a debtor-in-possession.

      As explained in LogiSYS’s Plan Objection, the Plan (a) violates the absolute priority rule, (b)

  was not proposed in good faith, (c) includes a tainted liquidation analysis, (d) is of dubious

  feasibility, and (e) purports to impair a class of claims that cannot even vote on the Plan. See

  generally Plan Objection. The Amended Disclosure Statement does not cure these defects. The

  Opposition fails to engage them. And even the Debtor’s reply (Dkt. # 145) to the Plan Objection

  offers no substantial reply beyond an erroneous analysis of the absolute priority rule.

           6. The appointment of a Trustee is Necessary Because the Debtor is Incapable of
                             Fulfilling its Fiduciary Duties to Creditors.

      For all of the reasons discussed above and in LogiSYS’s Motion, the Debtor’s contentions

  that it has fulfilled, or can be trusted to fulfill, its fiduciary duties to its estate and creditors of its

  estate are incomplete and do not hold water. The Debtor holds up the mere “disclosure” of

  questionable transactions and dubious self-serving assertions that creditors will receive more

  under the Plan than in a liquidation as though they were talismans capable of redeeming those

  transactions and the Plan ratifying them of their otherwise congenital defects. If only it were so.

  Far from establishing the Debtor’s bona fides as a fiduciary in bankruptcy, the Debtor’s

  aggressively myopic view of the law and its own obligations thereunder further demonstrates

  that a Chapter 11 Trustee must be appointed. And the Debtor’s view of the acrimony that has



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  unfortunately been perpetuated through the conduct of its bankruptcy case only emphasizes the

  need.

     The Debtor asserts that the case law cited for LogiSYS’s “[i]ncredibl[e]” attempt at justifying

  the appointment of a trustee based on “the acrimony that exists between Debtor and Logistics” is

  “inapposite” because, in the instant case, “the only creditor that had and/or has an animosity with

  Debtor is Logistics.” Debtor’s Opp. At 11-12. The Debtor does not discuss or even cite any

  cases, not even the cases it claims are inapposite or provoke incredulity, leaving the reader to

  speculate. Closer inspection reveals the Debtor’s response to be meritless.

     First, LogiSYS is the only substantial third-party unsecured creditor in this case. Second, the

  Debtor’s suggestion that there must exist acrimony between a debtor and all (or at least multiple)

  creditors in order for such acrimony to support the appointment of a trustee under a 1104(a)(2) is

  wholly unsupported. LogiSYS is not aware of any authority to support this proposition and the

  Debtor, again, fails to cite any authority whatsoever.

     In fact, authority to the contrary exists, including the very case law cited by LogiSYS, see

  Motion at 21, 24, which the Debtor self-admittedly “does not refute,” id. at 10. These cases are

  directly on point and make clear that grounds for appointment of a trustee may be founded upon

  the acrimony of a debtor and some (but not all) creditors or even a single creditor, including

  where that acrimony results from the debtor’s misconduct in discovery disputes. See In re Taub,

  427 B.R. 208, 218, 226-29 (Bankr. E.D.N.Y. 2010) (affirming appointment based on, inter alia,

  acrimony between debtor and certain creditors, notwithstanding the objection of one creditor,

  and noting that such acrimony, “standing alone, has been found to be a basis” for appointment

  (citation omitted)); Petit v. New Eng. Mortg. Servs., Inc., 182 B.R. 64, 65-66, 68, 70 (D. Me.

  1995) (citation omitted) (appointing trustee based on debtor’s “tangled history” and “deep-



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  seeded conflict and animosity” with one among several creditors resulting from debtor’s

  “obstructionist and evasive” behavior in discovery disputes with that creditor, while noting that

  some creditors actually opposed appointment); see also In re Marvel Entertainment Group, 140

  F.3d 463, 468, 474 (3d Cir. 1998) (affirming appointment of trustee based on, inter alia,

  acrimony between debtor and “various creditors,” not including creditors who also controlled the

  debtor, without any mention of whether such acrimony with all or even most creditors must exist

  for such finding).


         B. Skytec:

         Logistic’s motion (the “Motion”) commences with the allegation that Debtor made

  “unusual” disbursements to vendors and suppliers within 90 days from the petition date.

  Logistics proceeds to highlight the work “unusual” in order to muddy the waters and mislead the

  Court to believe that the payments were not in the ordinary course of business.

         First, it must be underscored that Logistics was one of Debtor’s main vendors and as

  previously disclosed in the motion to disqualify Logistics’ vote (Docket No. 142), Debtor paid

  Logistics more than $6 Million within a 4 year period; and more importantly, the payments were

  made exactly in the same manner that Debtor paid all its vendors, i.e. as soon as possible after

  the government pays its invoices. However, in the Motion Logistics not only remains silent as to

  its collection experience with Debtor, but includes the list of payments that Debtor submitted in

  its statement of financial affairs alleging that these were not in the ordinary course of business

  and are avoidable.

         Again, Logistics conveniently fails to mention that this allegation as to alleged

  preferential transfers was first raised by Logistics in January 2019, and the undersigned attorney

  answered the same through an email dated February 7, 2019. In said email, the undersigned


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  clearly stated Debtor’s position regarding the alleged preferential transfers, which is that there

  are no preferential transfers in the subject case insofar as all payments made by Debtor within the

  90 days before the bankruptcy filing and/or within one year before the bankruptcy filing were

  made while Debtor was solvent, were for debts that were not past-due, and/or were made in the

  ordinary course of business.

         Debtor does not refute the caselaw cited by Logistics in the Motion; however, the facts of

  the captioned case when applied to the cited caselaw does not even come close to warrant the

  appointment of a Chapter 11 Trustee.

         Logistics commences its argument by rehashing the District Court order to try to prove

  that Debtor has engaged in gross misconduct. If must be underscored the fact that Logistics does

  not cite a single caselaw to prove this allegation. The reason for not citing a case is simple, there

  is no caselaw justifying the appointment of a Chapter 11 Trustee due to a pre-petition conduct in

  a lawsuit, particularly when the misconduct was solely related to discovery issues and as Debtor

  has already disclosed was due to Debtor’s prior legal representation.

         The next legally groundless argument listed in the Motion to justify the appointment of a

  Trustee is the alleged avoidance actions. Debtor restates its prior arguments to refute Logistics’

  argument as to the alleged avoidance actions. It suffices to say that Logistics fails to prove that

  any of the transfers meet the requirements of Section 547 of the Bankruptcy Code.                 As

  aforementioned Debtor was solvent at the time of the transfers; these were made according to

  contractual terms; or were made in the ordinary course of Debtor’s business. More importantly,

  CPA Luis Carrasquillo has submitted a report proving Debtor’s solvency. Debtor’s solvency can

  be ascertain by this Court not only by the report of CPA Carrasquillo but by applying the ability-

  to-pay test followed by bankruptcy courts. Moreover, in the event this Courts determines that



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  Debtor was insolvent, CPA Carrasquillo’s report lists several payments as potentially voidable

  and Debtor has agreed to prosecute said actions in said event.

         Then Logistics proceeds to allege that somehow Debtor’s Plan of Reorganization proves

  the alleged misconduct.    However, Debtor’s Plan of Reorganization complies with all the

  provisions of the Bankruptcy Code regardless of the unfounded allegations made by Logistics.

  Logistics’ allegation that the Plan “improperly classified administrative claimants being paid in

  full” is perplexing and devoid of any evidence whatsoever.

         In its continued effort to muddy the waters Logistics alleges that the payments made by

  Debtor before the bankruptcy filing were “orchestrated on the eve of bankruptcy”. However,

  Logistics fails to disclose that during the extensive discovery that Debtor voluntarily agreed to

  provide them, they receive evidence that all payments were made as soon as Debtor’s clients

  made the subject payments and according to contractual terms.

  The alleged “use of corporate assets for the personal benefit of insiders” is solely based on the

  compensation packages of the insiders. How does that equates to “deterioration of debtor’s

  assets” or “gross mismanagement” is mind blowing. Furthermore, all transfers were listed in the

  schedules and statement of financial affairs, regardless of the fact that said entities were no

  longer creditors of the Debtor; Debtor endured two 341 Meetings of Creditors wherein Logistics

  interrogated Debtor’s officers; Debtor submitted to Logistics a plethora of documents requested

  by them after the 341 Meetings of Creditors regarding all of Debtor’s business affairs before the

  bankruptcy filing including without limitation all the payments that could be subject to

  avoidance actions; and Debtor voluntarily submitted itself to Rule 2004 Examinations by

  Logistics.




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         Debtor’s management has faithfully carried out its fiduciary duties throughout the

  pendency of the captioned bankruptcy case. As aforementioned, it had fully disclosed all the

  information that has been requested from them even if it is beyond the requirements of the

  Bankruptcy Code. It has filed a plan of reorganization that pays more than the liquidation value

  of the corporation for the benefit of its creditors, including a minimum dividend of $870,966.42

  to its unsecured creditors. Logistics wants more. But the liquidation value of the corporation

  and the cash flow generated by the operations actually yields less than the amount being paid.

  The contribution from Debtor’s shareholders provides the feasibility needed in order to pay to

  the unsecured creditors the aforementioned dividend. If Debtor’s management had opted to not

  carry its fiduciary duties no contribution would be made in order to comply with the provisions

  of the Bankruptcy Code.

         Logistics tries to justify the appointment of a Chapter 11 Trustee on the acrimony that

  exists between Debtor and Logistics. But the caselaw cited by Logistics is inapposite to its

  request. In the captioned case the only creditor that had and/or has an animosity with Debtor is

  Logistics. And it appears that Logistics is trying to not only continue with the animosity but

  escalate it by its unwarranted litigation.

         It must be underscored that the Bankruptcy Code is clear that a Debtor is not obligated to

  file avoidance actions. Section 547(b) of the Code states:

                  “(b)Except as provided in subsections (c) and (i) of this section, the trustee
                  may, based on reasonable due diligence in the circumstances of the case
                  and taking into account a party’s known or reasonably knowable
                  affirmative defenses under subsection (c), avoid any transfer of an interest
                  of the debtor in property—
                  (1) to or for the benefit of a creditor;
                  (2)for or on account of an antecedent debt owed by the debtor before
                  such transfer was made;
                  (3)made while the debtor was insolvent;
                  (4)made—(A)on or within 90 days before the date of the filing of

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                    the petition; or
                    (B)between ninety days and one year before the date of the filing of
                    the petition, if such creditor at the time of such transfer was an insider; and
                    (5)that enables such creditor to receive more than such creditor would
                    receive if—
                    (A)the case were a case under chapter 7 of this title;
                    (B)the transfer had not been made; and
                    (C)such creditor received payment of such debt to the extent provided by
                    the provisions of this title.” (Emphasis ours)

            It is clear that the Bankruptcy Code grants a trustee or debtor in possession the power to

  avoid certain transfers, but the goal of a Chapter 11 case cannot be ignored. The purpose of a

  Chapter 11 is to rehabilitate debtors. See In re Environmental Source, Corp., 431 B.R. Bankr.

  Court, D. Mass (2010); In re Dynaco, Corp., 162 B.R. 389, Bank.Court New Hampshire (1983).

  As such, all Chapter 11 Debtors must balance the possibly recovery of an avoidance action

  versus the impact that said action could have in the feasibility of its reorganization plan. As

  eloquently states in the case of In re TWA Inc., 305 B.R. 221, Bank. Court D.Delaware:

                    “In most chapter cases where a reorganization is effected, the debtor
                    does not file preference actions because of the need for ongoing working
                    relationship with vendors and other creditors. In that stage of the case
                    leading up to such a reorganization, the debtor effects settlements and
                    otherwise resolves major claims with its creditors. Indeed, if the
                    reorganization prospects look good, it may be a waste of estate resources
                    to undertake a preference analysis while the estate is engaged in the
                    claims resolution process. However, if it turns out that a successful
                    reorganization cannot be effected and the debtor and major creditors
                    conclude that a liquidation is the best alternative, then preference actions
                    most assuredly will be brought, and indeed should be brought…” Id. at
                    227.

  See also, In re Dornier Aviation (North America), Inc., 320 B.R. 831, Dist. Court, ED Virginia

  (2005).

            In the instant case, Debtor cannot take a blind eye and file avoidance actions simply

  without taking into consideration the impact on the feasibility of its plan of reorganization, which




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  is a confirmable plan insofar as one impaired class has already agreed to the treatment proposed

  therein.

         Lastly, Logistics is now trying to include arguments that were never included nor hinted

  in the Motion, particularly as to checks that were issued by Debtor before the bankruptcy filing

  but cashed by the bank post-petition. Logistics is relying in the case of Barnhill v. Johnson, 503

  U.S. 393 (1992) to state that the date when the check was cashed is the date to consider while

  deciding when the transfer was made. First, said case should be limited to the facts of said case,

  which were to decide if the transfer was made within the time frame of Section 547 of the Code.

  To use that case for a determination of a transfer under Section 549 of the Code is not warranted.

  However, even if the holding of said case is used to determine the timing of a transfer under

  Section 549 of the Code, said section states as follows:

                    “(a)Except as provided in subsection (b) or (c) of this section, the
                    trustee may avoid a transfer of property of the estate—
                    (1) that occurs after the commencement of the case; and
                    (2)(A)that is authorized only under section 303(f) or 542(c) of this title;
                    or
                    (B)that is not authorized under this title or by the court.” Emphasis
                    ours.


  As such, just like in Section 547, the Bankruptcy Code is clear in granting Debtors the power to

  avoid a transfer but not forcing them to do so. Again, the goal of a Chapter 11 case cannot be

  ignored, and all Debtors must act to achieve said goal and propose a feasible plan of

  reorganization.



                                       IV.      EXHIBITS LIST
         The parties have exchanged copies of their exhibits.


     A. LogiSYS:


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                               Documents
  1.    Opinion and Order, Sep. 12, 2018, Skytec, Inc. v.
        Logistic Systems, Inc., Civil No. 15-2104 (BJM) see
        Civil Dkt. # 160
  2.    Opinion and Order, March 15, 2019 Civil Dkt. #184
  3.    Judgment, March 15, 2019, Civil Dkt. #186
  4.    Amended order, May 23,2019, Civil Dkt. #188
  5.    Amended Final Judgment, May 23, 2019, Civil Dkt.
        #189
  6.    Order of May 4, 2017 granting in part Motion to
        Compel or to Strike Experts filed by LogiSYS in the
        Civil Case, in which it disallowed Skytec’s experts in
        the case. See Civil Dkt. # 59.
  7.    Skytec’s “Response in Opposition to Defendant’s
        Motions Entered at Dkt. # 70 and Dkt. # 71,” July 31,
        2017, Civil Dkt. # 75
  8.    Debtor’s Schedules and Statement of Financial
        Affairs dated October 4, 2018, Dkt. # 29, and
        amended schedules
  9.    Debtor’s Amended Petition and Schedules E/F, Dkt.
        ## 214-1_and 212-2
  10.   Invoices paid to MVS Leading Satellite within 90
        days prior to filing as produced by Debtor
  11.   Invoices paid to TxRX Systems Satellite within 90
        days prior to filing as produced by Debtor
  12.   Invoices paid to EF Johnson Satellite within 90 days
        prior to filing as produced by Debtor
        Invoices paid to Daniels Electronics Satellite within
  13.   90 days prior to filing as produced by Debtor
  14.   List of Items Acquired within 20 days of the petition
        date. (Item 6 produced by Debtor after 341 meeting
        of creditors) Supplement to Official form 206A/B,
        Part 5, Question 25.
  15.   Refunds for advance payments to Annie Astor within
        one year prior to filing as produced by Debtor
  16.   Payments to Carbonell & Co. within 90 days prior to
        filing as produced by Debtor
  17.   Revised Statement of Debtor’s Prepetition payments
  18.   Dkt # 63 - Skytec, Inc. Monthly Operating Report
        September 2018- Pages 1- 13 FirstBank bank account
        Statements before and after filing of the petition, at
        pp. 68-70
  19.   Dkt # 66 Skytec, Inc. Monthly Operating Report
        October 2018
  20.   Dkt # 75 Skytec, Inc. Monthly Operating Report

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        November 2018
  21.   Dkt # 107 Skytec, Inc. Monthly Operating Report
        December 2018
  22.   Dkt # 113 Skytec, Inc. Monthly Operating Report
        January 2019
  23.   Dkt # 134 Skytec, Inc. Monthly Operating Report
        February 2019,
  24.   Dkt # 177 Skytec, Inc. Monthly Operating Report
        March 2019,
  25    Dkt # 206 Skytec, Inc. Monthly Operating Report
        April 2019
  26    Dkt # 219 Skytec, Inc. Monthly Operating Report
        May 2019
  27.   Dkt. # 228 Skytec, Inc. Monthly Operating Report
        June 2019
  28.   Dkt. # 234, Skytec, Inc. Monthly Operating Report
        July 2019- reserved to be used if filed before the
        hearing and if necessary.
  29.   Transcript of Rule 2004 Examination of Ms. Annie
        Astor
  30    Transcript of Rule 2004 Examination of Mr. Henry
        Barreda
  31    Income Tax Return produced by Skytec for 2014
  32    Income Tax Return produced by Skytec for 2015
  33    Income Tax Return produced by Skytec for 2016
  34    Income Tax Return produced by Skytec for 2017
  35    480.6B Annie Astor for the year 2017, reflecting
        payment of interest under section 1023.05(b) in the
        amount of $1, 055.57
  36    480.6B Annie Astor for the year 2018, reflecting
        payment of interest under section 1023.05(b) in the
        amount of $88.33
  37    480.6A M&A CPA Advisor for the year 2018,
        reflecting payment of interest under section
        1023.05(b) in the amount of $35,000
  38    480.6B M&A CPA Advisor, Inc. for the year 2017
        reflecting payments for services rendered in the
        amount of $156,000.
  39    480.6B M&A CPA Advisor, Inc.,for the year 2018
        reflecting payments for services rendered in the
        amount of $157,534.45
  40    PR Form 499R-W2PR Nadja Gonzalez Conde for
        2018
  41    PR Form 480.6B Nadja Gonzalez Conde for the year
        2017
  42    PR Form 499R-W2PR Nadja Gonzalez Conde for
                                                                             50
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        2018
  43.   Form 499R-W2PR Henry Barreda for 2017
        reflecting only salaries, in the amount of $85,485.81
  44    Form 499R-W2PR Henry Barreda for 2018
        reflecting only salaries in the amount of $90,485.73
  45    Oriental Bank’s Term Loan Agreement
  46    Mortgage Note over Property located at Bo.
        Guaraguao, Bayamon, PR
  47    Copy of unsigned purchased deed of Property located
        at Bo. Guaraguao, Bayamon, PR
  48    Copy of Certificate from the Puerto Rico Property
        Registrar regarding property located at Bo.
        Guaraguao, Bayamon, PR.
  49    National Bureau of Labor Statistics Occupational
        Employment & Wages Statistics – Puerto Rico 2018
  50.   Skytec’s Disclosure of Affiliated Entities produced
        by Skytec as Item 3 to production of documents after
        the first session of the Section 341 Meeting of
        Creditors
  51    Skytec’s Financial Statements’ Analysis (2012-2017)
  52    Skytec, Inc. Financial Statements for the year ended
        December 31, 2014
  53    Skytec, Inc. Financial Statements for the year ended
        December 31, 2015
  54.   Skytec, Inc. Financial Statements for the year ended
        December 31, 2016
  55.   Skytec, Inc. Financial Statements for the year ended
        December 31, 2017
  56.   Skytec, Inc. Bank account statement corresponding to
        June, 2018
  57.   Skytec, Inc. Bank account statement corresponding to
        July, 2018
  58.   Skytec, Inc. Bank account statement corresponding to
        August, 2018
  59.   Skytec, Inc. Bank account statement corresponding to
        September, 2018
  60.   Debtor’s Liquidation Analysis Dkt. 91-5
  61.   Debtor’s Liquidation Analysis (for amended
        disclosure statement) Dkt. 175-6
  62.   American Express Miguel Carbonell- Skytrackers,
        Inc. credit cards account statements
  63.   American Express Annie Astor credit card account
        statements
  64.   Banco Popular Visa Signature #6598- Annie Astor
        credit card account statements
  65.   BPPR MC #5511 Annie Astor credit card account
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           statements
  66.      BPPR MC#5054 Annie Astor credit card account
           statements
  67.      First Bank MC # 2993 Annie Astor credit card
           account statements
  68.      First Bank MC # 6206 Annie Astor credit card
           account
  69.      Oriental Bank Henry Barreda credit card account
           statements
  70.      Expert Report by Mr. Carlos Baralt, CPA., July 23,
           2019
  71.      Complaint in SEC v. Angel Alvarez Perez and Annie
           Astor Carbonell, Civil No. 08-8009 (DAB) (SDNY),
           September 16, 2008
  72.      Final Judgment as to Defendant Annie Astor
           Carbonell, in SEC v. Angel Alvarez Perez and Annie
           Astor Carbonell, Civil No. 08-8009 (DAB) (SDNY),
           October 17, 2008
  73.      In the matter of Annie Astor Carbonell (CPA) - SEC
           Order Instituting Administrative Proceedings
           Pursuant to Rule 102(e) of the Commission’s Rules
           of Practice, Making Findings, and Imposing
           Remedial Sanctions, November 24, 2008
  74.      Transcript of Hearing on Final Approval of
           Disclosure Statement and Confirmation Hearing of
           Ch. 11 Plan and Objection to Disclosure Statement,
           and on Motion for Appointment of Chapter 11
           Trustee, 05/17/2019
  75.      Dkt # 242, Skytec’s Monthly Operating Report
           August 2019.


        B. Skytec:

           A.     Debtor’s Statement of Financial Affairs

           B.     Debtor’s Amended Schedules

           C.     Debtor’s Second Amended Disclosure Statement with all its Exhibits.

           D.     Debtor’s Second Amended Plan of Reorganization.

           E.     Report prepared by CPA Luis R. Carrasquillo & Co, PSC on possible avoidable

           transfers
           F.     Letter from the Puerto Rico Emergency Management Administration.

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          G.

          J.      Detail of Collections of Emergency Projects in 2018

          K.      Detail of Collections for the Years Ended December 31, 2016, 2017, and 2018

          L.      Copies of the Emergency Projects Purchase Orders

          M.      Evidence of Collections from Emergency Projects

          N.      Gantt Chart for CEM Project

          O.      Gantt Chart for AEMEAD Project

          P.      Letter from Mr. Carlos A. Rodriguez Vidal dated January 23, 2019

          Q.      See E-mail from Mr. Alexis Fuentes dated February 8, 2019

          R.      First CAD Contract (AEMEAD)

          S.      Second CAD Contract (LEDS)

          T.      Third CAD Contract (LE Metro I)

          U.      Fourth CAD Contract (LE Metro II)


                                          II.   WITNESSES LIST
       A. LogiSYS:

  1.       Annie Astor, Debtor’s acting CFO (Ms. Astor acts as CFO of Debtor, is
           married to one of Debtor’s shareholders, and will continue to testify about
           Debtor’s financial, accounting, and banking operations, including matters
           rekated to the acts of the board of directors, officers, and other insiders, as
           well as on the ground for potential avoidance actions)

  2.       Henry Barreda, Debtor’s President (Mr. Barreda is the Debtor’s President,
           one of its two shareholders, and will testify about Debtor’s financial,
           operations, including matters related to the acts of the board of directors,
           officers, and other insiders, as well as on the grounds for potential
           avoidance actions)

  3.        Samuel Bull (Mr. Bull was one of LogiSYS’s counsel of record in the U.S.
           District Court litigation and may testify about the state of that case and
           notice through pleadings)


       B. Skytec:


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         1.       Ms. Annie Astor (Debtor’s CFO) – Ms. Astor shall testify about Debtor’s actions

         pre and post the bankruptcy petition; the nature of Debtor’s business; the manner in

         which Debtor pays its employees, suppliers and creditors; Debtor’s special projects and

         the financing needed for these projects; Debtor’s ability to pay its creditors; Debtor’s

         assets and liabilities; Debtor’s relationship with LogiSYS and its disputed claim; Debtor’s

         plan of reorganization; and the possibility of filing avoidance actions.

         2.       Mr. Henry Barreda (Debtor’s President) – Mr. Barreda shall testify about Debtor’s

         actions pre and post the bankruptcy petition; the nature of Debtor’s business; the manner

         in which Debtor pays its suppliers and creditors; Debtor’s special projects; Debtor’s

         ability to pay its creditors; Debtor’s assets and liabilities; Debtor’s relationship with

         LogiSYS and its disputed claim; Debtor’s plan of reorganization; and the possibility of

         filing avoidance actions.

         VI.      EXPERT WITNESSES

         A. LogiSYS:

         Mr. Carlos Baralt –Mr. Baralt shall testify about his analysis of Mr. Luis Carrasquillo’s

  work in this case and about the following opinions:

         1.       Pre-petition payments totaling approximately $638,000 were cleared by the bank

         for payment post-petition.

         2.        The available information, including Debtor’s Financial Consultant’s Report, is

         insufficient to validate whether all payments not identified as avoidable, were made in due course

         of business, for contemporaneous exchange of value, or in accordance with negotiated terms.


         B. Skytec:

               Mr. Luis Carrasquillo, CPA – Mr. Carrasquillo shall testify about his report, including

               without limitation, his analysis of all payments made by Debtor within the avoidance
               period, and his conclusions thereabout.


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                                VII.   ESTIMATED TIME NEEDED

         The parties estimate that each will require between eight (8) and sixteen (16) hours for

  the presentation of their case.

         Respectfully Submitted,

         In San Juan, Puerto Rico, this 17th day of October, 2019.

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                                                    s/ Carlos A. Rodriguez-Vidal
                                                    Carlos A. Rodríguez-Vidal
                                                    USDC PR 201213

                                                    s/ Solymar Castillo Morales
                                                    Solymar Castillo Morales
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                                                    /s/ Andrew Morton________________
                                                    Andrew Morton
                                                    Washington State Bar No. 49467
                                                    Pro Hac Vice Counsel for creditor Logistic
                                                    Systems, Inc.

                                                    s/ Bryan T. Glover
                                                    Bryan T. Glover
                                                    Washington State Bar # 51045
                                                    Pro Hac Vice Counsel for Creditor LogiSYS
                                                    Systems, Inc.

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